                                                                                              Entered on Docket
                                                                                              August 14, 2019
                                                                                              EDWARD J. EMMONS, CLERK
                                                                                              U.S. BANKRUPTCY COURT
                                                                                              NORTHERN DISTRICT OF CALIFORNIA


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                                                                                           The following constitutes the order of the Court.
                                             3                                             Signed: August 14, 2019

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                                                                                           ________________________________________
                                             5                                             Charles Novack
                                                                                           U.S. Bankruptcy Judge
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                                             7                                 UNITED STATES BANKRUPTCY COURT
                                             8                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                  In re:                                             Case No. 19-10507 CN
                                            10                                                       Chapter 7
                                                  JONATHON BRADLEY COHEN,
                                            11                                                       ORDER SETTING HEARING ON
                                                                   Debtor.                           MOTION TO RECONSIDER ORDER
UNITED STATES BANKRUPTCY COURT




                                                                                                     GRANTING RELIEF FROM STAY
  For The Northern District Of California




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                                            14             The court entered an order granting Creditor Allen Henderson’s motion for relief from stay

                                            15   [Docket #21] on August 7, 2019. Debtor Jonathon Cohen filed a motion to reconsider (“Motion”) on

                                            16   August 13, 2019. Accordingly, and good cause appearing,

                                            17             IT IS HEREBY ORDERED that a hearing on the Motion is set for September 18, 2019 at

                                            18   11:00 a.m. in the United States Bankruptcy Court, 99 South E Street, Santa Rosa, California.

                                            19   Debtor shall appear at the hearing. Any Opposition to the Motion may be stated on the record at the

                                            20   hearing.

                                            21                                        * * * END OF ORDER * * *

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                                                 ORDER SETTING HEARING

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                                             2   Case No. 19-10507 CN
                                                                                     COURT SERVICE LIST
                                             3
                                             4    Jonathon Bradley Cohen
                                                  3133 Stony Point
                                             5    Santa Rosa, CA 95407

                                             6    Other recipients are ECF participants.
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UNITED STATES BANKRUPTCY COURT
  For The Northern District Of California




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